This is an action commenced on December 1, 1944, by Sarah Anderson, sole surviving member of the partnership of H. E. Anderson and Sarah Anderson, plaintiff, against W. H. Ludwig and M. R. Ludwig, defendants.  The action was for an accounting on a contract between Ludwig and Anderson, whereby certain real estate was to be purchased, improved, and handled, and the profits divided.  The action was called for trial on July 25, 1945, at which time defendants were unrepresented by counsel.  After the taking of some testimony by plaintiff, a conference was had between plaintiff and defendants.  As a result of this conference, a stipulation was filed which purported to be a settlement of the dispute.  By the provisions of this settlement, plaintiff was to have the sole and exclusive right to sell the property in question.  Upon the sale there was to be paid to defendants the sum of $900 and the balance after deducting expenses was to be equally divided between the parties.  Provisions were made that defendants retain the rents received by them up to August 15, 1945, and that they be equally divided after that date.  It was stipulated that an order be entered dismissing the action and such an order was entered.  Mrs. Ludwig was not in court at the time, and after being reduced to writing the stipulation was signed by Ludwig and taken Out of court to secure her signature.  It was the understanding that it be returned and filed but Ludwig failed to return the stipulation.  Ludwig had not filed an answer to the complaint, and on the record the action was dismissed without any formal reference to the agreement of settlement.  Upon Ludwig's *Page 466 
failure to return the stipulation, plaintiff secured an order to show cause why judgment should not be entered upon it.  Upon the hearing the parties appeared by counsel and defendants asked that they be relieved of the stipulation, while plaintiff asked that judgment be entered upon it.  Evidence was taken and the court entered an order in accordance with the stipulation without formally vacating the prior order dismissing the action.  The appeal is from this order.
Defendant's sole contention is that the trial court was without jurisdiction to enter further orders in the action after the order of dismissal of August 18, 1945.  Defendants rely upon Wawrzyniakowski v. Hoffman  BillingsMfg. Co. 137 Wis. 629, 119 N.W. 350, which is asserted to hold that where a stipulation calls only for dismissal of the action proceedings are ended and that subsequent proceedings in the action are "entirely unnecessary and outside of anything contemplated mutually by the parties, if not unwarranted."
Sec. 269.46 (1), Stats., provides:
"The court may, upon notice and just terms, at any time within one year after notice thereof, relieve a party from a judgment, order, stipulation or other proceeding against him obtained, through his mistake, inadvertence, surprise or excusable neglect and may supply an omission in any proceeding."
This section quite clearly vests the trial court with control over the stipulation and prior order, and under it the trial court could set aside the order of dismissal and further proceedings could be had in the cause.
It is conceded by plaintiff that the court was in error in not Specifically setting aside its former order of dismissal but this claimed to be nonprejudicial.  Since the court could have set *Page 467 
the order aside under the provisions of sec. 269.46, Stats., the omission is a technical error, did not affect the substantial rights of the parties, and cannot form the basis of a reversal in view of the mandate of sec. 269.43.  The WawrzyniakowskiCase, supra, is not an authority for defendants' position.  That case was addressed to the question whether the retainer of counsel survived a termination of the proceedings by an order to dismiss.  No claim is made here that defendants' attorney did not have authority to appear on their behalf.
By the Court. — Order affirmed.
RECTOR, J., took no part.